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                                   United States District Court
                                      District Of Maryland
     Chambers of                                                                        101 West Lombard Street
Ellen Lipton Hollander                                                                  Baltimore, Maryland 21201
  District Court Judge                                                                        410-962-0742

                                             September 26, 2023

      MEMORANDUM TO COUNSEL
             Re:      David J. Boshea v. Compass Marketing, Inc.
                      Civil Action No. 21-cv-00309

      Dear Counsel:

              As you know, by Letter Order of August 15, 2023 (ECF 184), Judge Copperthite granted
      in part and denied in part defendant’s “Motion to Reopen Discovery to Conduct the Depositions
      of Lawrence Scott and David Boshea” (ECF 179). Specifically, Judge Copperthite stated, ECF
      184 at 1:

                     With respect to reopening discovery regarding the [Lawrence] Scott
             deposition Compass has shown good cause. Scott was disclosed as the former
             general counsel at White’s deposition on May 18, 2022, fifteen months before the
             filing of this motion. At that time, Plaintiff had not disclosed Scott as a witness.
             Since Scott was General Counsel, it would be expected that attorney client
             privileged material would be at issue and Compass would not have expected his
             testimony at trial. Scott was not disclosed as a witness until the final draft of the
             Pretrial Order was submitted. Withholding disclosure until fifteen months after the
             discovery deadline provided an unfair advantage to Boshea. If Boshea intends to
             call Scott as a witness, Compass may depose Scott. The discovery deadline is
             extended solely to allow the deposition of Scott, which shall occur within fifteen
             days of this Order. If Boshea does not intend to call Scott as a witness, the discovery
             deadline will not be extended and the Motion will be DENIED. Compass may have
             a basis to exclude the testimony of Scott, in limine but if that motion is not granted,
             Boshea has gained an unfair advantage at trial.

               On September 14, 2023, defendant filed a “Motion for Leave to File a Motion in Limine
      to Exclude Lawrence Scott as a Witness at Trial.” ECF 187 (“Motion for Leave”). Defendant also
      filed a “Motion in Limine to Exclude Lawrence Scott as a Witness at Trial.” ECF 187-1 (“Motion
      in Limine”). On September 15, 2023, this Court granted defendant’s Motion for Leave (ECF 187),
      “provided, however, that by 9/25/23, plaintiff may move to rescind this Order as improvidently
      granted.” ECF 188. On September 25, 2023, plaintiff filed a “Motion to Vacate September 15,
      2023 Order Granting Motion in Limine.” ECF 189 (“Motion to Vacate”).

             Plaintiff’s Motion to Vacate (ECF 189) seems to characterize my Order of September 15,
      2023 (ECF 188) as granting defendant’s Motion in Limine. This is not correct. The Order of
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September 15, 2023 (ECF 188) merely granted leave to defendant to file its motion in limine. The
Motion in Limine itself is still pending. Therefore, I shall construe plaintiff’s Motion to Vacate as
an opposition to the Motion in Limine.

        Both defendant’s Motion in Limine and plaintiff’s Motion to Vacate detail the parties’
difficulties in deposing Lawrence Scott. Specifically, defendant asserts that, following the Letter
Order of August 15, 2023, defendant’s private process server “attempted to serve Scott eight times
over a period of (9) days” to inform him of his upcoming deposition. ECF 187. Plaintiff also
maintains that he had difficulty in serving Scott with a subpoena to attend the deposition, only
reaching him on September 25, 2023. ECF 189 at 2. However, plaintiff states that he still plans
to call Scott as a witness at trial, despite the fact that defendant has not yet had an opportunity to
depose Scott. Id. at 2. Plaintiff also states that he expects Scott to appear for defendant’s upcoming
deposition via Zoom, scheduled for September 28, 2023. Id. at 2.

       I agree with Judge Copperthite that “[i]f Boshea intends to call Scott as a witness, Compass
may depose Scott.” ECF 184 at 1. Moreover, if Compass is unable to depose Scott and Scott is
allowed to testify at trial, “Boshea has gained an unfair advantage at trial.” Id.

       Accordingly, counsel are directed to advise the Court by September 29, 2023, as to whether
defendant was able to depose Scott on September 28, 2023.

        Despite the informal nature of this Memorandum, it is an Order of the Court and the Clerk
is directed to docket it as such.

                                                              Very truly yours,
                                                                      /s/
                                                              Ellen Lipton Hollander
                                                              United States District Judge




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